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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                  LOUISVILLE DIVISION

ATLANTIC MUTUAL INSURANCE CO.                         )
                                                      )
                                       Plaintiff      )
                                                      )
                                                      )
vs.                                                   )        3:07-CV-250-H
                                                      )
                                                      )
MICHAEL YATES                                         )
                                                      )
                                       Defendant      )


                                        Electronically Filed

       MOTION TO CERTIFY QUESTIONS TO KENTUCKY SUPREME COURT

                                            *******

       Comes the Plaintiff, by counsel, and moves the Court to certify the following questions to

the Kentucky Supreme Court:

       1.      Whether Kentucky law will reform a policy to impute uninsured motorist coverage

in an umbrella insurance policy or coverage in the absence of a signed waiver by the insured.

       2.      Whether an insurer is bound by its Rate and Rule filings with the Kentucky

Department of Insurance, and more specifically, whether Atlantic Mutual fulfilled its stated

obligation to provide uninsured motorist coverage equal to the amount of the liability limits or to

notify the insured of the availability of the same.

       3.      What constitutes an actuarially appropriate premium and whether the premium

Atlantic Mutual charged in this case was actuarially appropriate and an acceptable “per policy”

premium under Kentucky law.

       A Memorandum of Law in Support of the Motion is attached hereto.
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                                               Respectfully Submitted,


                                               /s/ Chadwick N. Gardner
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                                               239 South Fifth Street
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                                               (502) 583-2423
                                               COUNSEL FOR DEFENDANT

                                 CERTIFICATE OF SERVICE

        It is hereby certified that a true and correct copy of the foregoing was served electronically
thru the United States District Court on this the 28th day December, 2009, to the following:

Michael P. Casey
CASEY BAILEY & MAINES, PLLC
250 W. Main St., Ste 2000
Lexington, KY 40507
COUNSEL FOR PLAINTIFF



                                                      /s/ Chadwick N. Gardner
